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                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA


In Re:


Cindy E Watson                                          Case No. 18-10872-JDL
                                                        Chapter 13

          Debtor.


        TRUSTEE'S OBJECTION TO CLAIM NUMBER 4 WITH NOTICE
   OF OPPORTUNITY FOR HEARING COMBINED WITH NOTICE OF HEARING

         COMES NOW, John Hardeman, Chapter 13 Trustee ("Trustee"), and pursuant to 11 U.S.C.

Section 502, Rules 3001 and 3007 of the Federal Rules of Bankruptcy Procedure, and Local Rule

3007-1, objects to Claim Number 4 filed by CAPITAL ONE AUTO FINANCE ("Claimant") in the

amount of $21,090.99 based on the following:

         The Trustee has made reasonable attempts to make disbursements to Claimant. However,

such attempts have been unsuccessful due to the refusal of the Claimant to accept disbursement

checks issued by the Trustee. As a result, the Claim should be disallowed to the extent of any

unpaid balance.

         WHEREFORE, the Trustee respectfully requests that Claim Number 4 filed by CAPITAL

ONE AUTO FINANCE in the amount of $21,090.99 be disallowed to the extent of the unpaid

balance on the Claim.
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                          NOTICE OF OPPORTUNITY FOR HEARING

             Your rights may be affected. You should read this document carefully and consult

your attorney about your rights and the effect of this document. If you do not want the Court to

sustain the objection, or you wish to have your views considered, you must file a written response to the

objection with the Clerk of the United States Bankruptcy Court for the Western District of Oklahoma,

215 Dean A. McGee Avenue, Oklahoma City, OK 73102 no later than 14 days from date of filing of

the objection. You should also serve a file-stamped copy of the response to the undersigned (and others

who are required to be served) and file a certificate of service with the Court. If no response is timely

filed, the Court may sustain the objection and strike the scheduled hearing without further notice.


                                    NOTICE OF HEARING
                            (TO BE HELD IF A RESPONSE IS FILED)

         Notice is hereby given that if a response to the Trustee's Objection to Claim is filed, the hearing

on the matter will be held on January 12, 2021, at 8:30 a.m., in the Second Floor Courtroom of the

United States Bankruptcy Court for the Western District of Oklahoma, 215 Dean A. McGee Avenue,

Oklahoma City, OK 73102. If no response is timely filed and the Court grants the requested relief

prior to the above-referenced hearing date, the hearing will be stricken from the docket of the

Court.
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                                                Respectfully Submitted,

                                                s/John Hardeman
                                                John Hardeman, Trustee
                                                321 Dean A. McGee Avenue
                                                PO Box 1948
                                                Oklahoma City, OK 73101
                                                13trustee@chp13okc.com
                                                Tel: (405) 236-4843
                                                Fax: (405) 236-1004

                                CERTIFICATE OF MAILING

       This is to certify that on November 10, 2020, a true and correct copy of the foregoing

document was served by U.S. Mail, first class, postage prepaid, on the following:

Cindy E Watson                                  CAPITAL ONE AUTO FINANCE
5419 NW King Richard Ave                        AIS PORTFOLIO SERVICES
Lawton, OK 73505                                4515 N SANTA FE AVE DEPT APS
                                                OKLAHOMA CITY, OK 73118


                                               s/John Hardeman
                                               John Hardeman, Trustee

                                                                                mr
